                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                                       Chapter 11

         DAVID’S BRIDAL, INC., et al.,1                                               Case No. 18-12635 (LSS)

                                              Debtors.                                Jointly Administered


                       NOTICE OF ASSUMPTION OF EXECUTORY CONTRACTS AND
                      UNEXPIRED LEASES OF DEBTORS AND RELATED PROCEDURES

                  PLEASE TAKE NOTICE that, on November 19, 2018, David’s Bridal, Inc. and its
         affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession
         (the “Debtors”), filed the Joint Prepackaged Chapter 11 Plan of Reorganization under Chapter
         11 of the Bankruptcy Code [Docket No. 12] (as it may be amended, modified or supplemented
         from time to time, the “Prepackaged Plan”).2

                 PLEASE TAKE FURTHER NOTICE that, in accordance with Section 8.1 of the
         Prepackaged Plan and sections 365 and 1123 of the Bankruptcy Code, all executory contracts
         and unexpired leases (the “Assumed Contracts”) to which the Debtors are parties, and which
         have not expired on their own terms on or prior to the Effective Date, including Employee
         Arrangements (subject to Section 5.12 of the Prepackaged Plan) shall be deemed assumed by the
         Debtors, except for any executory contract or unexpired lease that (i) previously has been
         assumed, assumed and assigned, or rejected pursuant to a Final Order of the Bankruptcy Court,
         (ii) is the subject of a separate motion or notice filed by the Debtors on or before the
         Confirmation Date seeking to assume, assume and assign, or reject pursuant to the Prepackaged
         Plan, the Confirmation Order or section 365 of the Bankruptcy Code or (iii) is the subject of a
         pending Assumption Dispute.

                 PLEASE TAKE FURTHER NOTICE that any monetary amounts by which any
         executory contract or unexpired lease to be assumed hereunder is in default shall be satisfied,
         under section 365(b)(1) of the Bankruptcy Code, by the Reorganized Debtors upon assumption
         thereof in the ordinary course. If you believe that any Cure Amounts are due by the Debtors in
         connection with the assumption of your contract or unexpired lease, you should assert such Cure
         Amounts against the Debtors in the ordinary course of business.


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                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
                (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
                Pennsylvania 19428.
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                Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
                Prepackaged Plan.
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                 PLEASE TAKE FURTHER NOTICE that to the extent that you object to the
         assumption of an Assumed Contract on any basis, including the Debtors’ satisfaction of the
         requirement under section 365(b)(1)(C) of the Bankruptcy Code to provide adequate assurance
         of future performance under an Assumed Contract, you must (a) file with the Bankruptcy Court a
         written objection (the “Objection”) that complies with the Bankruptcy Rules and the Local
         Rules and sets forth (i) the basis for such objection and specific grounds therefor, and (ii) the
         name and contact information of the person authorized to resolve such objection, and (b) serve
         the same on the parties listed below, so that such Objection is actually received no later than
         December 14, 2018 (the “Assumption Objection Deadline”):

                       a.      the Debtors, c/o David’s Bridal, Inc., 1001 Washington Street,
                               Conshohocken, PA 19428, Attn: Lori Cochran Kinkade;

                       b.      the Office of the United States Trustee for the District of Delaware, 844
                               King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn:
                               Timothy Fox (Timothy.Fox@usdoj.gov);

                       c.      proposed counsel to the Debtors, (i) Debevoise & Plimpton LLP, 919
                               Third Avenue, New York, NY 10022, Attn: M. Natasha Labovitz
                               (nlabovitz@debevoise.com) and (ii) Young Conaway Stargatt & Taylor
                               LLP, Rodney Square, 1000 North King Street, Wilmington, DE 19801,
                               Attn: Edmon Morton (emorton@ycst.com);

                       d.      counsel to the agent for the proposed debtor-in-possession lenders,
                               (i) Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York, NY
                               10178, Attn: Glenn Siegel (glenn.siegel@morganlewis.com) and
                               (ii) Morgan, Lewis & Bockius LLP, One Federal Street, Boston, MA
                               02110, Attn: Matthew Furlong (matthew.furlong@morganlewis.com);

                       e.      counsel to the ad hoc term lender group, Jones Day, 250
                               Vesey Street, New York, NY 10281, Attn: Scott J.
                               Greenberg (sgreenberg@jonesday.com) and Michael J. Cohen
                               (mcohen@jonesday.com);

                       f.      counsel to Oaktree Capital Management, L.P., Paul, Weiss, Rifkind,
                               Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, NY
                               10019, Attn: Alan Kornberg (akornberg@paulweiss.com) and John T.
                               Weber (jweber@paulweiss.com);

                       g.      counsel to the Supporting Sponsors, Cole Schotz P.C., 500 Delaware
                               Avenue, Suite 1410, Wilmington, DE 19801, Attn: Norman L.
                               Pernick     (npernick@coleschotz.com)     and     Kate     Stickles
                               (kstickles@coleschotz.com); and




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                       h.     counsel to Solace Capital Partners, L.P., (i) Fried, Frank, Harris, Shriver &
                              Jacobson LLP, One New York Plaza, New York, NY 10004, Attn: Brad
                              Eric Scheler (brad.scheler@friedfrank.com) and Peter B. Siroka
                              (peter.siroka@friedfrank.com) and (ii) Morris, Nichols, Arsht & Tunnell
                              LLP, 1201 N Market St. #1800, Wilmington, DE 19801, Attn: Derek C.
                              Abbott (dabbott@mnat.com).

                 PLEASE TAKE FURTHER NOTICE that if no Objection is timely received with
         respect to an Assumed Contract, (a) you shall be deemed to have assented to (i) the assumption
         of such Assumed Contract, (ii) the date of such assumption, and (iii) the satisfaction of the
         requirement under section 365(b)(1)(C) of the Bankruptcy Code of the Debtors to provide
         adequate assurance of future performance under such Assumed Contract, and (b) you shall be
         forever barred, estopped, and enjoined from challenging the validity of such assumption or the
         adequate assurance of future performance contemplated herein.

                 PLEASE TAKE FURTHER NOTICE that the Debtors request that, before filing an
         Objection, you contact the Debtors prior to the Assumption Objection Deadline to attempt to
         resolve such dispute consensually. The Debtors’ contact for such matters is David Deutsch,
         Esq., Debevoise & Plimpton LLP, at 212-909-6831 or by e-mail at ddeutsch@debevoise.com. If
         such dispute cannot be resolved consensually prior to the Assumption Objection Deadline (as the
         same may be extended by agreement of the Debtors), you must file and serve an Objection as set
         forth herein to preserve your right to object.

                PLEASE TAKE FURTHER NOTICE that if a timely Objection is filed and served in
         accordance with this notice pertaining to assumption of an Assumed Contract, and cannot be
         otherwise resolved by the parties pursuant to Section 8.2 of the Plan, the Bankruptcy Court may
         hear such Objection at a date set by the Bankruptcy Court.

         UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE
         WITH THIS NOTICE, IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY
         COURT.




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         Dated:   November 30, 2018      /s/ Jaime Luton Chapman
                  Wilmington, Delaware   YOUNG CONAWAY STARGATT & TAYLOR, LLP
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                                         Edmon L. Morton (No. 3856)
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                                         Craig A. Bruens (admitted pro hac vice)
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                                         Proposed Co-Counsel for the Debtors and Debtors in
                                         Possession




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